               United States District Court
       _________DISTRICT OF NEW HAMPSHIRE_________

                                 United States of America

                                                v.

                                         Ian Freeman

                               CASE NUMBER: 1:21-cr-000041


          DEFENDANT’S OBJECTION TO GOVERNMENT’S MOTION FOR
     IMMUNITY FOR RENEE SPINELLA AND REQUEST FOR EXCULPATORY
                           INFORMATION

       NOW COMES the Defendant, Ian Freeman, and Objects to the Government’s Amended

Motion for Testimonial Immunity for Renee Spinella. The following is states in support of this

objection:

       There is no reason to grant Ms. Spinella immunity. Under 18 U.S.C. §6003, the

government may request immunity when it is “necessary to the public interest.” 18 U.S.C.

§6003(b)(1). The court’s role is to “scrutinize the record to ascertain that a request for immunity

is, under the statute, jurisdictionally and procedurally well-founded.” United States v. Davis,

623 F.2d 188, 193 (1st Cir. 1980). The court cannot make such a determination without

understanding why the government believes it is necessary to the public interest. Because the

government’s motion does not put forward its reasoning as to how it determined that immunity

was necessary to the public interest, this court should deny the government’s request.

       Ms. Spinella entered a guilty plea to Bank Fraud. This court has sentenced her in that

case. The government has not provided the defense with any indication of what testimony it

anticipates Ms. Spinella will give that would require a grant of immunity. The defense requests
an offer of proof as to what Ms. Spinella’s tsitmony would be that would require immunity so

that it may supplement its objection. Additionally, as a grant of immunity would be giving Ms.

Spinella favorable treatment, the defense is entitled all information about that favorable

treatment. United States v. Giglio. 405 U.S. 150 (1972).

       Finally, Ms. Spinella is entitled to counsel to advise her. The defense requests that a

status of counsel hearing be held for Ms. Spinella.



Respectfully Submitted,


December 1, 2022
________________________________              _/s/ Mark L Sisti_________________________
Date                                          Signature

                                              Mark L. Sisti__________________________
                                              Print Name

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                                              Address

                                                        Chichester, NH 03258______________
                                              City                  State     Zip Code

                                                      (603) 224-4220_____________________
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                                     CERTIFICATION

      I hereby certify that a copy of this objection was forwarded to Seth Aframe, Esq. and
Georgiana MacDonald, Esq of the U.S. District Attorney’s Office, electronically through EFC
on December 1, 2022.

December 1, 2022
________________________________           _/s/ Mark L Sisti___________________
Date                                       Signature

                                           Mark L. Sisti______________________
                                           Print Name
